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                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   PATRICIA JOHNSON, an individual, ) Case No. 2:17-cv-01397-SVW-JPR
                                      )
12                Plaintiff,          ) ORDER DISMISSING ACTION
13                                    ) WITH PREJUDICE
     v.                               )
14
                                      )
15   CONVERGENT OUTSOURCING,          )             JS-6
16
     INC.; JEFFERSON CAPITAL          )
     SYSTEMS, LLC; and DOES 1 through )
17   10, inclusive,                   )
18                                    )
                                      )
19
20
21
          Pursuant to the stipulation this court hereby dismisses this action with prejudice. Each
22
     party to bear its own fees and costs. IT IS SO ORDERED
23
24
25
     DATE: May 12, 2017                       _____________________________
                                          BY: _________________________________
26                                            PHEN V.
                                          STEPHEN   V WILSON
27                                        UNITED STATES DISTRICT JUDGE
28


                                                Page - 1
                                 ORDER DISMISSING ACTION WITH PREJUDICE
